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     A.P.C., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: A.P.C., Jr.; A.A-H.; and C.C.; and Concerning J.R.A-H. No. 24SC645Supreme Court of Colorado, En BancNovember 12, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA2236
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    